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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


                                                             MDL No. 2740
IN RE: TAXOTERE (DOCETAXEL)
PRODUCTS LIABILITY LITIGATION                                SECTION: H
This Document Relates To:
                                                             JUDGE JANE TRICHE MILAZZO
Lula Gavin, Case No. 2:18-cv-11232
Clare Guilbault, Case No. 2:16-cv-17061
                                                             MAG. JUDGE NORTH
Debbie Hubbard, Case No. 2:18-cv-10283
Audrey Plaisance, Case No. 2:18-cv-08068


                                     [PROPOSED] ORDER

       Considering the foregoing Ex Parte Motion for Leave to File Plaintiffs’ Reply

Memorandum in Support of their Motion for Leave to File Amended Short Form Complaints of

Bellwether Pool Plaintiffs for Trial Five,

       IT IS ORDERED that said Motion is GRANTED;

       IT IS FURTHER ORDERED that the Clerk of Court shall file Plaintiffs’ Reply

Memorandum in Support of their Motion for Leave to File Amended Short Form Complaints of

Bellwether Pool Plaintiffs for Trial Five into the record.

       New Orleans, Louisiana, this ___ of                      , 2020.



                                              _____________________________________
                                              HON. JANE TRICHE MILAZZO
                                              UNITED STATES DISTRICT JUDGE




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